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              EXHIBIT BF
   [PUBLIC VERSION]
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  Message


  From:            Hazen, Judith [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FY01 Ba HF23SPDLT)/CN=RECIPIENTS/CN=7350443E3 16340 16520426C96A89699C-J1JHHO2)
  Sent:           11/22/2022 2:45:09 PM
  To:             Imgarten, Jeffrey Ueffrey.imgarten@kcfrb.org]
  Subject:        RE: Copy of Custodia Briefing Memo?



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  Thank you!


  From: lmgarten, Jeffrey <jeffrey.imgarten®kc.frb.org>
  Sent: Tuesday, November 22, 2022 2:38 PM
  To: Hazen, Judith cjudith.hazen@kc.frb.org>
  Subject: FW: Copy of Custodia Briefing Memo?


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  Stay tuned.

                   Jeff Imgarten
                   Assistant Vice President IApplications &Enforcement
                      816 ,
                          881.2073      ieffreyin,çjartenjjkcfrbo
                   FEDERAL RESERVE BANK OF KANSAS CITY
                   IMemorial Drive   Kansas City, Missouri 64198 w'kansascitvfedoni




  From: Iriigarten, Jeffrey
  Sent: Tuesday, November 22, 2022 2:37 PM
  To: Grant, Patrick (Board); Tkacz, Scott (Board)
  Subject: Copy of Custodia Briefing Memo?


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  Pat and Scott,


  Last week, Dwight had afew follow-up questions/clarifications for us regarding Custodia and indicated that he
  was working on a briefing note. In a related development, Jason Hinkle, Deputy Associate Director within
  RBOPS, touched base with Judith Hazen earlier this week regarding the status of Custodies master account
  request for the purposes of briefing Vice Chair Barr.




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  In light of the preceding, would it be possible for us to get acopy of the final memo provided to Vice Chair Barr
  in connection with any briefings regarding Custodia? As we coordinate with our supervision staff in evaluating
  Custodias pending response to the risk management gaps identified in our October letter, any context we can
  get on how our collective evaluation of the membership application is being framed for Vice Chair Barr and
  discussed among other stakeholders at the Board would be tremendously helpful.

  Thank you in advance for your consideration.

                Jeff lmgarten
                Assistant Vice President IApplications & Enforcement
                   816881.2073     ". jeffreti.irri(iarten(a•ke.frb.orq
                FEDERAL RESERVE BANK OF KANSAS CITY
                IMemorial Drive Kansas City, Missouri 64198      wv.vkansascitvfedorq   1171 #




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